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                                 UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF UTAH
                                      SALT LAKE CITY DIVISION

  In re:                                             §    Case No. 12-29998-JTM
                                                     §
  MATTHEW CROOKSTON                                  §
  ANGELA CROOKSTON                                   §
                                                     §
                      Debtor(s)                      §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          David L. Miller, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $193,439.00                Assets Exempt:      $40.00
(without deducting any secured claims)



Total Distributions to                                   Claims Discharged
Claimants:                        $5,564.42              Without Payment:    $748,832.47

Total Expenses of
Administration:                   $1,585.94


        3)      Total gross receipts of $7,150.36 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $7,150.36 from the
liquidation of the property of the estate, which was distributed as follows:




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                                    CLAIMS             CLAIMS            CLAIMS             CLAIMS
                                  SCHEDULED           ASSERTED          ALLOWED              PAID
  Secured Claims
  (from Exhibit 3)                      $1,600.00          $695.21              $0.00              $0.00
  Priority Claims:
      Chapter 7 Admin.
      Fees and Charges                         NA        $1,589.73          $1,589.73          $1,585.94
       (from Exhibit 4)
      Prior Chapter Admin.
      Fees and Charges                         NA              $0.00            $0.00              $0.00
      (from Exhibit 5)
      Priority Unsecured
      Claims                                $0.00              $0.00            $0.00              $0.00
      (From Exhibit 6)
  General Unsecured
  Claims (from Exhibit 7)            $767,410.88        $32,303.30         $32,303.30          $5,564.42

    Total Disbursements              $769,010.88        $34,588.24         $33,893.03          $7,150.36

        4). This case was originally filed under chapter 7 on 08/03/2012. The case was pending
  for 34 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 06/22/2015                               By:    /s/ David L. Miller
                                                         /Da    Trustee
                                                         vid
                                                         L.
                                                         Mil
                                                         ler

  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                 EXHIBITS TO
                                                FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                                     UNIFORM                        AMOUNT
                                                                         TRAN. CODE                     RECEIVED
2011 tax refunds                                                          1224-000                         $2,351.36
2012 Tax Refund - Federal                                                 1224-000                         $4,799.00
TOTAL GROSS RECEIPTS                                                                                       $7,150.36

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


EXHIBIT 3 – SECURED CLAIMS
NONE
 CLAIM      CLAIMANT     UNIFORM                          CLAIMS             CLAIMS   CLAIMS               CLAIMS
NUMBER                  TRAN. CODE                     SCHEDULED           ASSERTED ALLOWED                  PAID
     10       West Park Village      4110-000                $1,600.00         $695.21          $0.00             $0.00
              Homeowners
              Association
TOTAL SECURED CLAIMS                                         $1,600.00         $695.21          $0.00             $0.00


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE                UNIFORM                  CLAIMS   CLAIMS                   CLAIMS              CLAIMS
                           TRAN. CODE             SCHEDULED ASSERTED                 ALLOWED                 PAID
David L. Miller,             2100-000                         NA      $1,465.04          $1,465.04         $1,465.04
Trustee
David L. Miller,             2200-000                         NA          $17.58           $17.58             $13.79
Trustee
International Sureties,      2300-000                         NA           $5.57             $5.57                $5.57
Ltd.
Integrity Bank               2600-000                         NA         $101.54          $101.54            $101.54
TOTAL CHAPTER 7 ADMIN. FEES AND                               NA      $1,589.73          $1,589.73         $1,585.94
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS
 NONE


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM           CLAIMANT           UNIFORM               CLAIMS             CLAIMS   CLAIMS               CLAIMS
NUMBER                             TRAN. CODE          SCHEDULED           ASSERTED ALLOWED                  PAID
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     1        PYOD, LLC its       7100-000            $5,033.29    $4,033.29    $4,033.29    $694.76
              successors and
              assigns as
              assignee
     2        Capital One Bank    7100-000            $3,500.00     $968.27      $968.27     $166.79
              (USA), N.A.
     3        Capital One Bank    7100-000            $3,500.00    $1,855.33    $1,855.33    $319.59
              (USA), N.A.
     4        AMERICA             7100-000           $25,000.00   $20,126.82   $20,126.82   $3,466.95
              FIRST CREDIT
              UNION
     5        Capital One NA      7100-000            $3,500.00     $559.34      $559.34      $96.35
     6        Capital Recovery    7100-000            $1,626.00     $926.71      $926.71     $159.63
              V, LLC
     7        American            7100-000                $0.00     $577.78      $577.78      $99.53
              InfoSource LP as
              agent for
     8        Portfolio           7100-000            $1,608.00    $1,208.96    $1,208.96    $208.25
              Recovery
              Associates, LLC
     9        Bureaus             7100-000            $1,550.00    $2,046.80    $2,046.80    $352.57
              Investment Group
              Portfolio No 15
              LLC
              ALLIED              7100-000            $1,442.00        $0.00        $0.00      $0.00
              INTERSTATE
              INC.
              AMERICA             7100-000           $96,298.00        $0.00        $0.00      $0.00
              FIRST CREDIT
              UNION
              AMERICAN            7100-000           $17,500.00        $0.00        $0.00      $0.00
              EXPRESS
              BAC HOME            7100-000          $143,015.00        $0.00        $0.00      $0.00
              LNS
              LP/CTRYWDE
              BANK OF             7100-000          $158,015.00        $0.00        $0.00      $0.00
              AMERICA
              BEST BUY            7100-000            $3,021.00        $0.00        $0.00      $0.00
              BONNEVILLE          7100-000             $724.00         $0.00        $0.00      $0.00
              BILLING
              CASH LLC            7100-000            $3,701.00        $0.00        $0.00      $0.00
              CBUSASEARS          7100-000           $19,800.00        $0.00        $0.00      $0.00
              CHASE               7100-000          $142,107.00        $0.00        $0.00      $0.00
              CHASE CARD          7100-000           $18,491.00        $0.00        $0.00      $0.00
              SERVICES
              CHILDRENS           7100-000            $1,800.00        $0.00        $0.00      $0.00
              PL/CBSD
              CITICARDS           7100-000           $22,120.00        $0.00        $0.00      $0.00
              CBNA
              DISCOVER            7100-000           $14,100.00        $0.00        $0.00      $0.00

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              FINANCIAL
              SVCS LLC
              EDDIE BAUER         7100-000            $1,236.00        $0.00        $0.00      $0.00
              ER SOLUTIONS        7100-000            $1,442.00        $0.00        $0.00      $0.00
              EXPRESS             7100-000            $1,088.00        $0.00        $0.00      $0.00
              RECOVERY
              GECRB/LOWES         7100-000           $15,960.00        $0.00        $0.00      $0.00
              GECRB/ULTIM         7100-000           $12,900.00        $0.00        $0.00      $0.00
              ATE
              ELECTRONICS
              HSBC SUZUKI         7100-000           $15,224.00        $0.00        $0.00      $0.00
              REV
              IC SYSTEMS          7100-000             $688.00         $0.00        $0.00      $0.00
              INTERMOUNTA         7100-000            $4,501.00        $0.00        $0.00      $0.00
              IN HEALTH
              CARE
              KOHLS               7100-000            $2,644.00        $0.00        $0.00      $0.00
              MACYS/DSNB          7100-000            $6,500.00        $0.00        $0.00      $0.00
              NEW YORK            7100-000            $1,000.00        $0.00        $0.00      $0.00
              AND
              COMPANY
              OFFICE MAX          7100-000            $1,400.00        $0.00        $0.00      $0.00
              STONELEIGH          7100-000            $2,898.59        $0.00        $0.00      $0.00
              RECOVERY
              THE BUREAUS         7100-000            $2,868.00        $0.00        $0.00      $0.00
              THE HOME            7100-000            $4,700.00        $0.00        $0.00      $0.00
              DEPOT
              WELLS FARGO         7100-000            $4,910.00        $0.00        $0.00      $0.00
TOTAL GENERAL UNSECURED CLAIMS                      $767,410.88   $32,303.30   $32,303.30   $5,564.42




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                                                                                                                                                                 1
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                                                INDIVIDUAL ESTATE PROPERTY                                                                           Exhibit 8
                                                                       of 10RECORD AND REPORT
                                                                          ASSET CASES
Case No.:                     12-29998-JTM                                                        Trustee Name:                               David L. Miller
Case Name:                    CROOKSTON, MATTHEW AND CROOKSTON, ANGELA                            Date Filed (f) or Converted (c):            08/03/2012 (f)
For the Period Ending:        6/22/2015                                                           §341(a) Meeting Date:                       12/05/2012
                                                                                                  Claims Bar Date:                            06/13/2013

                         1                                 2                     3                         4                         5                           6

                 Asset Description                      Petition/        Estimated Net Value            Property               Sales/Funds                 Asset Fully
                  (Scheduled and                      Unscheduled       (Value Determined by            Abandoned             Received by the           Administered (FA) /
             Unscheduled (u) Property)                   Value                 Trustee,           OA =§ 554(a) abandon.           Estate                  Gross Value of
                                                                       Less Liens, Exemptions,                                                           Remaining Assets
                                                                          and Other Costs)

 Ref. #
1       2012 Tax Refund - Federal               (u)            $0.00                  $4,799.00                                          $4,799.00                       FA
2       2011 tax refunds                        (u)            $0.00                  $2,351.36                                          $2,351.36                       FA
3       Home                                              Unknown                         $0.00                                              $0.00                       FA
        Location: 2538 s 75 e,
        Clearfield UT 84015
4       COUCH, TABLE, TV                                    $200.00                       $0.00                                              $0.00                       FA
5       DINING TABLE, PLATES,                               $150.00                       $0.00                                              $0.00                       FA
        UTENSILS
6       4 BEDS, 5 DRESSERS                                  $550.00                       $0.00                                              $0.00                       FA
7       CHILDRENS CLOTHING                                  $400.00                       $0.00                                              $0.00                       FA
        ADULTS CLOTHING
8       1998 chevy malibu                                   $850.00                       $0.00                                              $0.00                       FA
9       2005 SUZUKI 400 ATV                               $3,799.00                       $0.00                                              $0.00                       FA
        Location: 2538 s 75 e,
        Clearfield UT 84015


TOTALS (Excluding unknown value)                                                                                                          Gross Value of Remaining Assets
                                                          $5,949.00                   $7,150.36                                          $7,150.36                     $0.00



     Major Activities affecting case closing:
       Collect and review 2012 tax returns and any possible refunds.
       Prepared Motion for Turnover. Waiting on IRS. TFR; TDR.


 Initial Projected Date Of Final Report (TFR):           12/15/2014                                                 /s/ DAVID L. MILLER
 Current Projected Date Of Final Report (TFR):           12/31/2015                                                 DAVID L. MILLER
                                                                                                                                                            Page No:1
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                                                                                                                                                  Exhibit
                                                CASH RECEIPTS AND DISBURSEMENTS
                                                                     of 10      RECORD
Case No.                           12-29998-JTM                                                             Trustee Name:                           David L. Miller
Case Name:                         CROOKSTON, MATTHEW AND CROOKSTON, ANGELA                                Bank Name:                               Integrity Bank
Primary Taxpayer ID #:             **-***1087                                                               Checking Acct #:                        ******9998
Co-Debtor Taxpayer ID #:           **-***1088                                                               Account Title:
For Period Beginning:              8/3/2012                                                                 Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 6/22/2015                                                                Separate bond (if applicable):

       1                2                       3                                   4                                          5                6                    7

   Transaction       Check /              Paid to/                      Description of Transaction          Uniform          Deposit      Disbursement           Balance
      Date            Ref. #           Received From                                                       Tran Code           $               $


03/06/2013            (2)      Crookston - US Treasury        2011 Federal tax refund                      1224-000           $2,351.36                              $2,351.36
03/31/2013                     Integrity Bank                 Bank Service Fee                             2600-000                                 $2.56            $2,348.80
04/30/2013                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.66            $2,345.14
05/31/2013                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.78            $2,341.36
06/30/2013                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.65            $2,337.71
07/31/2013                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.77            $2,333.94
08/31/2013                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.76            $2,330.18
09/30/2013                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.63            $2,326.55
10/31/2013                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.75            $2,322.80
11/30/2013                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.62            $2,319.18
12/10/2013            201      International Sureties, Ltd.   Blanket Bond #016027974                      2300-000                                 $3.60            $2,315.58
12/31/2013                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.73            $2,311.85
01/31/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.72            $2,308.13
02/28/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.36            $2,304.77
03/31/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.71            $2,301.06
04/30/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.59            $2,297.47
05/31/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.70            $2,293.77
06/30/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.58            $2,290.19
07/31/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.69            $2,286.50
08/31/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.68            $2,282.82
09/30/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.56            $2,279.26
10/31/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.67            $2,275.59
11/30/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $3.55            $2,272.04
12/04/2014            202      International Sureties, Ltd.   Bond # 016027974                             2300-000                                 $1.97            $2,270.07
12/30/2014            (1)      Crookston - US Treasury        2012 Federal tax refund                      1224-000           $4,799.00                              $7,069.07
12/31/2014                     Integrity Bank                 Bank Service Fee                             2600-000                                 $4.16            $7,064.91
01/31/2015                     Integrity Bank                 Bank Service Fee                             2600-000                             $11.39               $7,053.52
02/28/2015                     Integrity Bank                 Bank Service Fee                             2600-000                             $10.27               $7,043.25
03/24/2015            203      David L. Miller                Trustee Compensation - ORDER                 2100-000                           $1,465.04              $5,578.21
                                                              SIGNED 3/20/15
03/24/2015            204      David L. Miller                Trustee Expenses - ORDER SIGNED              2200-000                             $13.79               $5,564.42
                                                              3/20/15
03/24/2015            205      PYOD, LLC its successors       Final Account Number: ; Amount               7100-000                            $694.76               $4,869.66
                               and assigns as assignee        Allowed: 4,033.29; Distribution
                                                              Dividend: 17.23; Amount Claimed:
                                                              4,033.29; Claim #: 1; Notes: ; Dividend:
                                                              9.86;
03/24/2015            206      Capital One Bank (USA),        Final Account Number: ; Amount               7100-000                            $166.79               $4,702.87
                               N.A.                           Allowed: 968.27; Distribution Dividend:
                                                              17.23; Amount Claimed: 968.27; Claim #:
                                                              2; Notes: ; Dividend: 2.36;



                                                                                                         SUBTOTALS            $7,150.36       $2,447.49
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                                                                                                                                                Exhibit
                                              CASH RECEIPTS AND DISBURSEMENTS
                                                                   of 10      RECORD
Case No.                          12-29998-JTM                                                           Trustee Name:                           David L. Miller
Case Name:                        CROOKSTON, MATTHEW AND CROOKSTON, ANGELA                              Bank Name:                               Integrity Bank
Primary Taxpayer ID #:            **-***1087                                                             Checking Acct #:                        ******9998
Co-Debtor Taxpayer ID #:          **-***1088                                                             Account Title:
For Period Beginning:             8/3/2012                                                               Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                6/22/2015                                                              Separate bond (if applicable):

       1                2                    3                                   4                                          5                6                    7

   Transaction       Check /             Paid to/                    Description of Transaction          Uniform          Deposit       Disbursement        Balance
      Date            Ref. #          Received From                                                     Tran Code           $                $


03/24/2015            207      Capital One Bank (USA),     Final Account Number: ; Amount               7100-000                            $319.59               $4,383.28
                               N.A.                        Allowed: 1,855.33; Distribution
                                                           Dividend: 17.23; Amount Claimed:
                                                           1,855.33; Claim #: 3; Notes: ; Dividend:
                                                           4.53;
03/24/2015            208      AMERICA FIRST               Final Account Number: ; Amount               7100-000                           $3,466.95                  $916.33
                               CREDIT UNION                Allowed: 20,126.82; Distribution
                                                           Dividend: 17.23; Amount Claimed:
                                                           20,126.82; Claim #: 4; Notes: (4-1)
                                                           MONEY LOANED; Dividend: 49.22;
03/24/2015            209      Capital One NA              Final Account Number: ; Amount               7100-000                             $96.35                   $819.98
                                                           Allowed: 559.34; Distribution Dividend:
                                                           17.23; Amount Claimed: 559.34; Claim #:
                                                           5; Notes: ; Dividend: 1.36;
03/24/2015            210      Capital Recovery V, LLC     Final Account Number: ; Amount               7100-000                            $159.63                   $660.35
                                                           Allowed: 926.71; Distribution Dividend:
                                                           17.23; Amount Claimed: 926.71; Claim #:
                                                           6; Notes: ; Dividend: 2.26;
03/24/2015            211      American InfoSource LP as   Final Account Number: ; Amount               7100-000                             $99.53                   $560.82
                               agent for                   Allowed: 577.78; Distribution Dividend:
                                                           17.23; Amount Claimed: 577.78; Claim #:
                                                           7; Notes: ; Dividend: 1.41;
03/24/2015            212      Portfolio Recovery          Final Account Number: ; Amount               7100-000                            $208.25                   $352.57
                               Associates, LLC             Allowed: 1,208.96; Distribution
                                                           Dividend: 17.23; Amount Claimed:
                                                           1,208.96; Claim #: 8; Notes: ; Dividend:
                                                           2.95;
03/24/2015            213      Bureaus Investment Group    Final Account Number: ; Amount               7100-000                            $352.57                     $0.00
                               Portfolio No 15 LLC         Allowed: 2,046.80; Distribution
                                                           Dividend: 17.23; Amount Claimed:
                                                           2,046.80; Claim #: 9; Notes: ; Dividend:
                                                           5.00;




                                                                                                      SUBTOTALS                 $0.00      $4,702.87
                                                                                                                                                     Page No:3
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                                                                                                                                              Exhibit
                                             CASH RECEIPTS AND DISBURSEMENTS
                                                                  of 10      RECORD
Case No.                         12-29998-JTM                                                          Trustee Name:                           David L. Miller
Case Name:                       CROOKSTON, MATTHEW AND CROOKSTON, ANGELA                              Bank Name:                              Integrity Bank
Primary Taxpayer ID #:           **-***1087                                                            Checking Acct #:                        ******9998
Co-Debtor Taxpayer ID #:         **-***1088                                                            Account Title:
For Period Beginning:            8/3/2012                                                              Blanket bond (per case limit):          $1,000,000.00
For Period Ending:               6/22/2015                                                             Separate bond (if applicable):

      1                 2                  3                                 4                                             5               6                    7

  Transaction        Check /            Paid to/                 Description of Transaction            Uniform          Deposit       Disbursement         Balance
     Date             Ref. #         Received From                                                    Tran Code           $                $


                                                            TOTALS:                                                       $7,150.36      $7,150.36                  $0.00
                                                                Less: Bank transfers/CDs                                      $0.00          $0.00
                                                            Subtotal                                                      $7,150.36      $7,150.36
                                                                Less: Payments to debtors                                     $0.00          $0.00
                                                            Net                                                           $7,150.36      $7,150.36


 For the period of 8/3/2012 to 6/22/2015                                         For the entire history of the account between 03/06/2013 to 6/22/2015

 Total Compensable Receipts:                         $7,150.36                   Total Compensable Receipts:                                   $7,150.36
 Total Non-Compensable Receipts:                         $0.00                   Total Non-Compensable Receipts:                                   $0.00
 Total Comp/Non Comp Receipts:                       $7,150.36                   Total Comp/Non Comp Receipts:                                 $7,150.36
 Total Internal/Transfer Receipts:                       $0.00                   Total Internal/Transfer Receipts:                                 $0.00


 Total Compensable Disbursements:                    $7,150.36                   Total Compensable Disbursements:                              $7,150.36
 Total Non-Compensable Disbursements:                    $0.00                   Total Non-Compensable Disbursements:                              $0.00
 Total Comp/Non Comp Disbursements:                  $7,150.36                   Total Comp/Non Comp Disbursements:                            $7,150.36
 Total Internal/Transfer Disbursements:                  $0.00                   Total Internal/Transfer Disbursements:                            $0.00
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                                                                                                                                                Exhibit 9
                                             CASH RECEIPTS AND DISBURSEMENTS
                                                                 10 of 10    RECORD
Case No.                        12-29998-JTM                                                           Trustee Name:                           David L. Miller
Case Name:                      CROOKSTON, MATTHEW AND CROOKSTON, ANGELA                               Bank Name:                              Integrity Bank
Primary Taxpayer ID #:          **-***1087                                                             Checking Acct #:                        ******9998
Co-Debtor Taxpayer ID #:        **-***1088                                                             Account Title:
For Period Beginning:           8/3/2012                                                               Blanket bond (per case limit):          $1,000,000.00
For Period Ending:              6/22/2015                                                              Separate bond (if applicable):

      1                 2                  3                                 4                                            5                6                    7

  Transaction        Check /            Paid to/                 Description of Transaction            Uniform          Deposit     Disbursement            Balance
     Date             Ref. #         Received From                                                    Tran Code           $              $




                                                                                                                                             NET             ACCOUNT
                                                                      TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE            BALANCES

                                                                                                                        $7,150.36       $7,150.36                   $0.00




 For the period of 8/3/2012 to 6/22/2015                                         For the entire history of the case between 08/03/2012 to 6/22/2015

 Total Compensable Receipts:                         $7,150.36                   Total Compensable Receipts:                                   $7,150.36
 Total Non-Compensable Receipts:                         $0.00                   Total Non-Compensable Receipts:                                   $0.00
 Total Comp/Non Comp Receipts:                       $7,150.36                   Total Comp/Non Comp Receipts:                                 $7,150.36
 Total Internal/Transfer Receipts:                       $0.00                   Total Internal/Transfer Receipts:                                 $0.00


 Total Compensable Disbursements:                    $7,150.36                   Total Compensable Disbursements:                              $7,150.36
 Total Non-Compensable Disbursements:                    $0.00                   Total Non-Compensable Disbursements:                              $0.00
 Total Comp/Non Comp Disbursements:                  $7,150.36                   Total Comp/Non Comp Disbursements:                            $7,150.36
 Total Internal/Transfer Disbursements:                  $0.00                   Total Internal/Transfer Disbursements:                            $0.00
